Case 6:17-cv-02206-CEM-GJK Document 115 Filed 10/02/18 Page 1 of 6 PageID 2298



                              UNITED STATES DISSTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


 NUVASIVE, INC.,                                   )
                                                   )
                Plaintiff,                         )
 v.                                                ) Civil Case No. 6:17-cv-2206-Orl-41GJK
                                                   )
 ABSOLUTE MEDICAL, LLC, ABSOLUTE                   )
 MEDICAL SYSTEMS, LLC GREG                         )
 SOUFLERIS, DAVE HAWLEY,                           )
 and RYAN MILLER,                                  )
                                                   )
                Defendants.                        )
                                                   )

    DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S AMENDED
 MOTION TO SUPPLEMENT THE RECORD WITH NEWLY ACQUIRED EVIDENCE

        Defendants, ABSOLUTE MEDICAL, LLC (“Absolute Medical”), ABSOLUTE

 MEDICAL SYSTEMS, LLC (“AMS”), GREG SOUFLERIS (“Soufleris”), DAVE HAWLEY

 (“Hawley”), and RYAN MILLER (”Miller”) (collectively, “Defendants”), by and through their

 undersigned counsel, hereby file their Response in Opposition to Plaintiff’s, NUVASIVE, INC.

 (“Plaintiff” or “NuVasive”), Amended Motion to Supplement the Record with Newly Acquired

 Evidence (the “Motion”). (Doc. 114).

        At the evidentiary hearing held on June 28, 2018, NuVasive failed to demonstrate each of

 the elements necessary for issuance of a preliminary injunction against any of the Defendants

 and is now improperly seeking a second bite at the apple. NuVasive has cited no legal authority

 showing that it is entitled to supplement the record with its alleged new evidence. As this Court

 is well aware, a preliminary injunction ‘is an extraordinary and drastic remedy not to be granted

 unless the movant clearly establishes the burden of persuasion as to the four requisites[:]” (1) a

 substantial likelihood of success on the merits; (2) that it will suffer irreparable injury unless the


                                                   1
Case 6:17-cv-02206-CEM-GJK Document 115 Filed 10/02/18 Page 2 of 6 PageID 2299



 injunction is issued; (3) that the threatened injury to plaintiff outweighs whatever the damage the

 proposed injunction may cause defendant; and (4) the injunction is not adverse to the public

 interest. Llovera v. Florida, 576 F. App’x 894, 896 (11th Cir. 2014); Lucky Cousins Trucking,

 Inc. v. QC Energy Res. Tex., LLC, 223 F. Supp. 3d 1221, 1224, (M.D. Fla. 2016).

         This Court and the parties have already expended significant amounts of time and

 resources in preparing for and attending the evidentiary hearing on June 28, 2018, which was

 tantamount to miniature trial. In fact, there were over 500 pages of exhibits introduced by the

 parties (Doc. 85 and 86), and the Court heard extensive live testimony from three witnesses, each

 of whom Plaintiff cross-examined. One of the risks in requesting pretrial injunctive relief is that

 the moving party is requesting the Court to conduct an expedited analysis of the case with

 limited or no discovery; however, that is not prejudicial to the moving party because a

 preliminary injunction hearing is not a substitute for trial. Cobell v. Norton, 391 F.3d 251, 261

 (D.C. Cir. 2004) (“[a] preliminary injunction is just that—preliminary. It does not substitute for a

 trial, and its usual office is to hold the parties in place until a trial can take place.”). Plaintiff will

 have the opportunity to introduce any new evidence it acquires, through discovery or other

 means, at a trial in this matter. Thus, although NuVasive failed to meet its burden to have a

 preliminary injunction issued against Defendants, it will still have the opportunity to prove its

 case in chief at trial.

         Second, even if this Court allows Plaintiff to supplement the record, it should require a

 subsequent evidentiary hearing be held as Plaintiff is attempting to deprive Defendants the

 opportunity to respond to its alleged new evidence. In its Motion, Plaintiff is requesting this

 Court allow it to file a “Notice of Newly Acquired Evidence Relevant to its Motion for

 Preliminary Injunction,” in which it proposes to attach and explain several documents to



                                                     2
Case 6:17-cv-02206-CEM-GJK Document 115 Filed 10/02/18 Page 3 of 6 PageID 2300



 unilaterally be admitted as evidence. (Doc. 114). However, a notice does not provide Defendants

 with an opportunity to respond to Plaintiff’s new evidence or allegations.         Defendants are

 unaware of any rule in the Federal Rules of Civil Procedure or in Local Rules of the United

 States District Court, Middle District of Florida, that allows for a party to file a response to (or

 have a hearing on) a notice. Contrary to Plaintiff’s unilateral request to file additional evidence,

 preliminary injunction cannot be granted ex parte and the opposition must be given notice and a

 right to respond. Fed. R. Civ. P. 65(a)(1) (“No preliminary injunction shall be issued without

 notice to the adverse party.”). Compliance with Rule 65(a)(1) is “mandatory” and a preliminary

 injunction issued “without adequate notice and a fair opportunity to oppose it should be

 vacated.” Harris Cty., Tex. v. CarMax Auto Superstores Inc., 177 F.3d 306, 326 (5th Cir. 1999).

 While “notice” is not defined in Rule 65, “the United States Supreme Court has stated that the

 notice requirement implies a hearing in which the defendant is given a fair opportunity to oppose

 the application and to prepare for such opposition.” Four Seasons Hotel, 320 F.3d at 1210 citing

 Granny Goose Foods, Inc. v. Bhd of Teamsters & Auto Truck Drivers, 415 U.S. 423, 434 n. 7

 (1974).   While an evidentiary hearing is not always required before issuing a preliminary

 injunction, "where facts are bitterly contested and credibility determinations must be made to

 decide whether injunctive relief should issue, an evidentiary hearing must be held." Four

 Seasons Hotel, 320 F.3d at 1212 (The Eleventh Circuit found that the district court "deprived the

 [a]ppellants of any meaningful opportunity to adequately present their evidence rebutting the

 [a]ppellees' assertions" when it "effectively issued and upheld the injunction based on evidence

 presented by only one party"). Where conflicting factual information "places in serious dispute

 issues central to [a party's] claims" and "much depends upon the accurate presentation of

 numerous facts, the trial court errs in not holding an evidentiary hearing to resolve these hotly



                                                  3
Case 6:17-cv-02206-CEM-GJK Document 115 Filed 10/02/18 Page 4 of 6 PageID 2301



 contested issues." All Care Nursing, Serv., Inc. v. Bethesda Mem’l Hosp., Inc., 887 F.2d 1535,

 1539 (11th Cir. 1989).


        Here, Plaintiff seeks to introduce several documents into evidence that it claims will

 prove that Soufleris co-mingled Absolute Medical’s, AMS’s, and his own funds. However,

 Plaintiff is mischaracterizing what these documents purportedly prove and overemphasizing the

 significance of such documents. Contrary to Plaintiff’s eleventh hour claims, Soufleris provided

 substantial testimony and evidence at the evidentiary hearing on June 28, 2018, proving that he

 did not commingle funds. Without question, the facts surrounding the motion for preliminary

 injunction have been extremely contested. (Doc. 19, 38, 48, 53, 60, 78, 79, and 101-2). It would

 be highly prejudicial to Defendants for Plaintiff to offer evidence without providing Defendants

 with an opportunity to object, explain, or rebut the documents NuVasive seeks to introduce into

 evidence.

        WHEREFORE, Defendants, ABSOLUTE MEDICAL, LLC, ABSOLUTE MEDICAL

 SYSTEMS, LLC, GREG SOUFLERIS, DAVE HAWLEY, and RYAN MILLER respectfully

 requests that the Court (1) enter an Order denying Plaintiff’s Motion to Supplement the Record

 with Newly Acquired Evidence, (2) enter an Order on Plaintiff’s Motion for Preliminary

 Injunction based on the evidence already on admitted at the Evidentiary Hearing on June 28,




                                                4
Case 6:17-cv-02206-CEM-GJK Document 115 Filed 10/02/18 Page 5 of 6 PageID 2302



 2018,   or in the alternative, (3) schedule an evidentiary hearing to allow Defendants to

 adequately respond to Plaintiff’s newly acquired evidence, and (3) for other such relief this Court

 deems just and proper.

         Dated: October 2, 2018
                                              Respectfully submitted,


                                              /s/ Chantal M. Pillay
                                              Chantal M. Pillay
                                              Fla. Bar No. 108369
                                              ADAMS AND REESE, LLP
                                              350      E.     Las   Olas       Boulevard      1110
                                              Ft. Lauderdale, FL 33301
                                              Phone: 954.541.5390
                                              Chantal.pillay@arlaw.com
                                              Teesha.kittilson@arlaw.com


                                              Bryan E. Busch, Esq. (Pro Hac Vice)
                                              bryan.busch@arlaw.com
                                              ADAMS AND REESE L.L.P.
                                              3424 Peachtree Road N.E., Suite 1600
                                              Atlanta, Georgia 30326
                                              (470) 427-3700 (Telephone)
                                              Attorneys for Defendants




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 2nd day of October, 2018, I electronically filed the
 foregoing with the Clerk of the Court via the CM/ECF system, which will send a notice of
 electronic filing to all counsel of record and CM/ECF participants.

         Diana N. Evans, Esquire
         Bradley Arant Boult Cummings LLP
         100 North Tampa Street, Suite 2200
         Tampa, Florida 33602
         dnevans@Bradley.Com
         Attorney for NuVasive

                                                 5
Case 6:17-cv-02206-CEM-GJK Document 115 Filed 10/02/18 Page 6 of 6 PageID 2303




       Christopher W. Cardwell, Esquire
       Pro Hac Vice
       Gullett, Sanford, Robinson & Martin, PLLC
       150 Third Avenue South, Suite 1700
       Nashville, TN 37201
       ccardwell@gsrm.Com
       Attorney for NuVasive

       Thomas McFarland, Esquire
       Pro Hac Vice
       Gullett, Sanford, Robinson & Martin, PLLC
       150 Third Avenue South, Suite 1700
       Nashville, TN 37201
       tmcfarland@gsrm.Com
       Attorney for NuVasive




                                         /s/ Chantal M. Pillay
                                         Chantal M. Pillay


                                         /s/ Bryan E. Busch
                                         Bryan E. Busch, Esq.




                                            6
